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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA ) Case No. 3:11-cr-30

)
Vv. ) JUDGE KIM R. GIBSON
)
BRANDON J. BROTHERS, )
)
Defendant. )
MEMORANDUM ORDER

 

Pending before the Court is Defendant Brandon J. Brothers’s “Motion for Early
Termination of Supervised Release.” (ECF No. 59). The Motion is fully briefed (ECF Nos. 59, 61,
64) and ripe for disposition. For the following reasons, the Court DENIES the Motion.

On June 7, 2012, the Court sentenced Brothers to a term of imprisonment of six months,
to be followed by a term of fifteen years of supervised release. (ECF No. 46 at 2-3).

Title 18 U.S.C. § 3583(e) provides, in relevant part:

The court may, after considering the factors set forth in [18 U.S.C. §] 3553(a)(1),

(a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)5), (a)(6), and (a)(7)[] terminate a term of

supervised release and discharge the defendant released at any time after the

expiration of one year of supervised release, pursuant to the provisions of the

Federal Rules of Criminal Procedure relating to the modification of probation, if it

is satisfied that such action is warranted by the conduct of the defendant released

and the interest of justice.

18 U.S.C. § 3583(e)(1).1. “After considering these factors, the court may provide relief only if it is

satisfied that early termination is warranted by the defendant's conduct and is in the interest of

 

1 Title 18 U.S.C. § 3583(e)(1) requires a court entertaining a motion for early termination of supervised
release to consider the following § 3553(a) sentencing factors: (1) the nature and circumstances of the
offense and the defendant's history and characteristics; (2) the need to afford adequate deterrence to
criminal conduct, protect the public from further crimes of the defendant, and provide him with needed
educational or vocational training, medical care, or other correctional treatment in the most effective
manner; (3) the kinds of sentence and sentencing range established for the defendant's crimes; (4)
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justice.” United States v. Melvin, 978 F.3d 49, 52 (3d Cir. 2020). The Court is “not required to make
specific findings of fact with respect to each of these factors; rather, a statement that [the district
court] has considered the statutory factors is sufficient.” Id. at 52-53.

After consideration of the § 3553(a) factors, Brothers’s conduct, and the interest of justice,
as well as Brothers’s motion and the record in this matter, the Court finds that early termination

of supervised release is not warranted at this time.

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AND NOW, this 1G Nay of December, 2020, upon consideration of Defendant
Brandon J. Brothers’s “Motion for Early Termination of Supervised Release,” it is HEREBY
ORDERED that the Motion is DENIED.

BY THE COURT: _

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KIM R. GIBSON
UNITED STATES DISTRICT JUDGE

 

pertinent policy statements issued by the United States Sentencing Commission; (5) the need to avoid
unwarranted sentence disparities among defendants with similar records who have been found guilty of
similar conduct; and (6) the need to provide restitution to any victims of the offense. United States v.
Melvin, 978 F.3d 49, 53 (3d Cir. 2020).
